81 F.3d 152
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Van Prince WELCH, Petitioner-Appellant,v.Ronald J. ANGELONE, Director of the Virginia Department ofCorrections, Respondent-Appellee.
    No. 95-7311.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  March 5, 1996.Decided:  March 29, 1996.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.   J. Calvitt Clarke, Jr., Senior District Judge.  (CA-95-337-2)
      Van Prince Welch, Appellant Pro Se.  Robert B. Condon, Assistant Attorney General, Richmond, VA, for Appellee.
      E.D.Va.
      DISMISSED.
      Before WIDENER, WILKINS, and MOTZ, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. § 2254 (1988) petition.   We have reviewed the record and the district court's opinion and find no reversible error.   Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.   Welch v. Angelone, No. CA-95-337-2 (E.D.Va. Aug. 3, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    